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Attorneys for Plaintiff

EVEL ALLEN
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNTA
EUEL ALLEN
Plaintiff,
Case No: CO09-02507 sc
ve... OPPOSITION TO REQUEST

FOR TAKING JUDICTAL
NOTICE OF CHERRY PICKED
UNITED FINANCIAL MOR'TGAGE DOCUMENTS IN 12(b) (6)
CORP., ALLIANCE BANCORP, MOTION
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.,
CALIFORNIA RECONVEYANCE
CO.; GMAC MORTGAGE;
JP MORGAN CHASE BANK
AND DOES 1-25, INCLUSIVE,

DATE: SEPT 11 2009
TIME: 10:00 A.M.
COURT: 1 (17TH FLOOR)
Defendants
/

Plaintiff, Euel Allen, responds to the Request
For Judicial Notice as follows:

1. Plaintiff has no objection to consideration
of the documents referenced by defendant under the title
"Trust Transfer Deed". However, plaintiff observes that

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defendant has actually attached documents with three
titles under this Paragraph. These documents are: [A]
Revocable Intervivos Trust of Thomas Johnson Jr. signed
4-4-02 by Thomas Johnson Jr. and Buel Allen. It is
unclear whether this document was signed February 4, 2002
Or on the second day of April, 2002. [B] On September 1é,
2003 Buel Allen signed a Declaration of Death of Ssettior;...
and [C] On December >, 2003 a document titled "Trust
Transfer Deed was recorded. It is the POSition of
Plaintiff that all three documents should be considered
for only two limited Purposes: That Euel Alien initially
acquired an interest in the property in 2002 ana that
Fuel Allen now owns the Subject property free and clear
of any trust as his sole and Separate property. These
documents are referred to in paragraph one of the
Complaint. These documents support the claim of
plaintiff as summarized in Paragraph one of the
Complaint.

2. Plaintiff objects to taking judicial notice
Of the document titled "Grant Deed--Name Change Only".
This document is not referred to in the Complaint .
Extrinsic evidence will be required to explain why
Plaintiff prepared and recorded this document. The mere
existence of this deed Proves nothing since Mr. Allen
already owned the Property. Ambiguities in the title, if
any, as reflected in possible conflicts between the

documents in Paragraph 1 and paragraph 2 should be

resolved in favor of plaintitt (Hearn v. RJ Reynolds

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(D.AZ 2003) 279 Fed Supp 2d 1096].

3. The Deed of Trust attached is incomplete and
Plaintiff objects to its consideration by the Court. tn
particular, the "Balloon Rider" referenced in the
document was not attached. Also, the copy attached does

NOT have the document stamp from the Alameda County

- Recorder. Moreover , the. required identification of the

berson requesting recording is Missing, and the Place for
sending the notices of Property taxes is also Missing.

In summary, this is Nor an accurate copy of the actual
deed of trust referenced in the Complaint,

Documents not Physically attached to the
complaint may be considered as part of a FRCP 12(b) (6)
motion only if the following requirements are met: [A]
The complaint refers to the document; [B] The document ig
central to the claims of Plaintiff; and [c] The
authenticity of the copy attached to the motion is not
questioned (Branch v. Tunnel1 (9th Cir 1994) 1a Fed 3d
449, 454, overruled on other grounds in Galbraith yv
County of Santa Clara (9th Cir 2002) 307 Fed 3q 1119,
1127; Bryant _v Avado Brands (11th Cir 1999) 187 Fed 34
1271).

4. Notice of Defauit, Assignment of Deed of
Trust and Substitution of Trustee: Plaintiff objects to
consideration of these documents since they are clearly
incomplete. There is no copy of the stamp of the Alameda
County Recorder. Thus, plaintiff hag ne way to know
whether these documents were actually recorded, or if

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they were ever served on plaintiff. Plaintife igs
questioning the authenticity of each of these documents
attached as requests numbered 4,5, 6, and 7.

Matters of public record may be considered only
if they are not Subject to reasonable dispute [Intri-Plex
Technologies v Crest Group Ine (9th Cir 2007) 499 Fed 3q
1048, 1052]. In this case, there igs a reasonable dispute. .
regarding the authenticity of the attached documents.
Also, the documents are being used to support
affirmative defenses rather then to contradict any

allegation in the complaint, Ordinarily, a FRCP 12 (b) (6)
motion cannot be used for this purpose [Xechem tne y

Bristol Meyers Squibb Co (7th Cir 2004) 372 Fed 3a
899,901]. For each of these reasons, the documents
should not be considered,

>. Purchase and Assumption Agreement - We object
to this document since it is clearly incomplete, tn
Particular, page 34 through 37 identify the liabilities
not assumed. These pages are missing. Also, this
document is not referenced in the complaint and is not
critical to the complaint. Moreover, there is no
assurance that the Henderson Nevada subsidiary of
Washington Mutual is the same company that acquired the
loan at issue in this dawsuit.

This document is offered to support an
affirmative defense that Movants can legally buy the
assets of their predecessor in interest, with a discharge
Of all the debts. We concede bankruptcy courts may have

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this power. However, it is not clear that private
parties may reach this result by contract [Cf: Uniform
Fraudulent Conveyances Act, codified as California Civil
Code §3434 et seq].

For the reasons set forth, plaintiff prays that
the Court deny the Request for Judicial Notice of all the
proferred documents except the Revocable Intervivos
Trust, Declaration of Death of Settlor, and Trust
Transfer Deed referenced in paragraph i.

DATED: July 21, 2009. MOSS & MURPHY

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— Glen L. Moss
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